» Case 4:03-cv-03255-PJH Document 16 Filed 11/14/03 Page 1 of ORIGINAL

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10 || Attorneys for Defendants “of
MORRISON & FOERSTER, LLP and STAFFORD
11 MATTHEWS
12
UNITED STATES DISTRICT COURT
13
NORTHERN DISTRICT OF CALIFORNIA
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SAN FRANCISCO DIVISION
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16
MOHAMAD A. WAZNI, Case No. C03-03255 PJH
17
Plaintiff, STIPULATION AND [PR@B@SED]
18 ORDER RE: DISMISSAL
VS.
19

GLOBAL WITNESS, LTD., THE

20 | GLOBAL WITNESS FOUNDATION
(U.S.), THE GLOBAL WITNESS TRUST
21 | (U.K.), MORRISON & FOERSTER, LLP,
STAFFORD MATTHEWS, and ALEX

22 | YEARSLEY,

 

 

 

23 Defendants.
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"puss Building, 30h Floor Stipulation of Dismissal

235 Montgomery Street

San Francisco, CA 94104 Case No. c03 -032545 PJH 181174666789. 1

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Case 4:03-cv-03255-PJH Document 16 Filed 11/14/03 Page 2 of 3

IT IS HEREBY STIPULATED by and between Plaintiff Mohamad A. Wazni and
Defendants Morrison & Foerster, LLP and Stafford Matthews that each and every claim in the
Complaint in this action shall be and hereby is dismissed without prejudice pursuant to Federal

Rules of Civil Procedure, Rule 41(a)(1).

 

Mohamad A. Wazni, Plaintiff

FARELLA BRAUN & MARTEL LLP

By: "Paw gee G cnr
Douglas R. Young

 

Attorneys for Defendants
MORRISON & FOERSTER LLP and
STAFFORD MATTHEWS

ORDER

Pursuant to the parties’ Stipulation, and good cause appearing,

IT IS SO ORDERED.

 

DATED: , 2003.
The Honorable Phyllis J. Hamilton
United States District Judge

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Stipulation of Dismissal

Case No. C03-03255 PJH -2- 181176667891

 
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2 | Defendants Morrison & Foerster, LLP and Stafford Matthews that each and every claim in the
3 4 Compiamt in this action shall be and hereby is dismissed without prejudice pursuant to Federal
4 7 Rules of Civil Procedure, Rule 41{a{1).
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7 4 Mobamad A Ween, Plantiff
&
S
10 FARELLA BRAUN & MARTEL LLP
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12 By Whee lo fun
Douglas R_ Young
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; Attomevs for Defendants .
14 MORRISON & FORRSTER LLP and
STAFFORD MATTHEWS.
15
16 ORDER
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Parsuamt to the parties” Stipulation, and good cause appearing,
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FT IS SO ORDERED.
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DATED: A/Y , 2003.
a beable
22 ae Phyllis J. Hamilton
District Judge
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